            Case 18-10494-jkf                Doc 1        Filed 01/26/18 Entered 01/26/18 16:34:18                              Desc Main
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                                                      & =_m^k Zgr Z]fbgblmkZmbo^ ^qi^gl^l Zk^ iZb]* gh _ng]l pbee [^ ZoZbeZ[e^ _hk ]blmkb[nmbhg mh ngl^\nk^] \k^]bmhkl,

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Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 4 of 19
 Case 18-10494-jkf      Doc 1     Filed 01/26/18 Entered 01/26/18 16:34:18           Desc Main
                                  Document      Page 5 of 19


                      CONSENT IN LIEU OF A SPECIAL MEETING
                         OF THE BOARD OF DIRECTORS OF
                        THE LEGAL COVERAGE GROUP LTD.

       The undersigned, being the sole Director of The Legal Coverage Group Ltd., a
Pennsylvania Subchapter S corporation (the "Company"), does hereby agree, consent to and
adopt the following resolutions:

VOLUNTARY PETITION UNDER THE PROVISIONS OF CHAPTER 11 OF THE
UNITED STATES BANKRUPTCY CODE

       WHEREAS, the sole Director has reviewed the materials presented by the
management and the advisors of the Company regarding the liabilities and liquidity situation
of the Company, the strategic alternatives available to it, and the impact of the foregoing on
the Company’s business;

        WHEREAS, the sole Director has had the opportunity to consult with the
management and the advisors of the Company and fully consider each of the strategic
alternatives available to the Company;

       RESOLVED, that in the judgment of the sole Director of the Company, it is desirable
and in the best interests of the Company, its creditors and other parties in interest, that the
Company file or cause to be filed a voluntary petition for relief under the provisions of
chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy
Code”); and

        RESOLVED, that any of the Chief Executive Officer, Chief Financial Officer, and
such others as may be designated by the Chief Executive Officer (collectively, the
“Authorized Officers”), acting alone or with one or more other Authorized Officers be, and
they hereby are, authorized and empowered to execute and file on behalf of the Company all
petitions, schedules, lists, motions, applications, pleadings and other papers or documents as
necessary to commence the case and obtain chapter 11 relief, including but not limited to
motions to obtain the use of cash collateral, and provide adequate protection therefor and to
obtain debtor in possession financing, and to take any and all further acts and deeds that they
deem necessary, proper and desirable in connection with the chapter 11 case, with a view to the
successful prosecution of such case; and

         RESOLVED, that the Authorized Officers be, and they hereby are, authorized and
directed to employ the law firm of Dilworth Paxson LLP as bankruptcy counsel to represent and
assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance the Company’s rights and obligations, including filing any pleadings; and in
connection therewith, the Authorized Officers are hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon filing
of the chapter 11 case and cause to be filed an appropriate application for authority to retain the
services of Dilworth Paxson LLP; and

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Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 6 of 19
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 7 of 19
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 8 of 19
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 9 of 19
    Case 18-10494-jkf        Doc 1      Filed 01/26/18 Entered 01/26/18 16:34:18                      Desc Main
                                        Document      Page 10 of 19


                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                    : Chapter 11
                                                          :
The Legal Coverage Group Ltd.,                            : Case No. 18- _______ (___)
                                                          :
                     Debtor.                              :
                                                          :

     LIST PURSUANT TO LOCAL BANKRUPTCY RULE 1007(a)(1) OF CREDITORS
                   THAT THE DEBTOR BELIEVES CLAIM A
                 SECURITY INTEREST IN CASH COLLATERAL

         The above-captioned debtor (the “Debtor”) filed a petition for relief under chapter 11 of

the Bankruptcy Code, 11 U.S.C. §§ 101-1532. The following is a list of the entities that the

Debtor believes assert a security interest in cash collateral (the “Cash Collateral List”) based on

the Debtor’s books and records as of approximately January 26, 2018.

         The Cash Collateral List is prepared in accordance with Local Bankruptcy Rule

1007(a)(1) for filing in this chapter 11 case. The information herein shall not constitute an

admission of liability by, nor is it binding on, the Debtor.1




1
 The Debtor will file its schedules of assets and liability (the “Schedules”) in accordance with 11 U.S.C. § 521, Fed.
R. Bankr. P. 1007, and L.B.R. 1007-1(b). The information contained in the Schedules may differ from that set forth
below.


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 Case 18-10494-jkf          Doc 1    Filed 01/26/18 Entered 01/26/18 16:34:18                             Desc Main
                                     Document      Page 11 of 19




               (1)                                              (2)                                        (3)
         Name of Creditor            Name, telephone number and complete mailing address,            Nature of Claim
                                    including zip code of employee, agents, or department of      (trade debt, bank loan,
                                       creditor familiar with claim who may be contacted        government contracts, etc.)


 The Prudential Insurance                  Lowenstein Sandler LLP                              Bank Loan
   Company of America                       Zachary D. Rosenbaum
           and                           1251 Avenue of the Americas
  Prudential Retirement                     New York, NY 10020
  Insurance and Annuity
        Company                                King & Spalding LLP
                                                  Jeffrey Dutson
                                              Sarah Robinson Borders
                                             1180 Peachtree Street NE
                                                Atlanta, GA 30309

                                    Attorneys for The Prudential Insurance
                                     Company of America and Prudential
                                      Retirement Insurance and Annuity
                                                  Company




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Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 12 of 19
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 13 of 19
              Case 18-10494-jkf          Doc 1        Filed 01/26/18 Entered 01/26/18 16:34:18                 Desc Main
                                                      Document      Page 14 of 19

     Fill in this information to identify the case:

     Debtor name The Legal Coverage Group Ltd.
     United States Bankruptcy Court for the:Eastern District of Pennsylvania
                                                               (State)
                                                                                                                     Check if this is an
     Case number (If known): 18-____________________________
                                                                                                                      amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest on a Consolidated Basis
Unsecured Claims and Are Not Insiders                                                                                              12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.


    Name of creditor and complete        Name, telephone number,   Nature of       Indicate if   Amount of unsecured claim
    mailing address, including zip       and email address of      the claim       claim is      If the claim is fully unsecured, fill in only
    code                                 creditor contact          (for example,   contingent,   unsecured claim amount. If claim is
                                                                   trade debts,    unliquidate   partially secured, fill in total claim amount
                                                                   bank loans,     d, or    i    and deduction for value of collateral or
                                                                   professional    disputed      setoff to calculate unsecured claim.
                                                                   services, and
                                                                   government
                                                                   contracts)
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                                                                                                 claim, if      for value  claim
                                                                                                 partially      of
                                                                                                 secured        collateral
                                                                                                                or setoff
1
     Phil Seefried                                                     Loan
     9151 East Harvard Avenue                                                                                                $1,100,000.00
     Denver, CO 80231

2
     George Croner                                                     Loan
     35 Steeplechase Drive                                                                                                   $925,000.00
     Holland, PA 18966

3
     Michel’s Bakery                                                   Loan
     5698 Rising Sun Avenue                                                                                                  $550,000.00
     Philadelphia, PA 19120

4
     Michael Zion                                                      Loan
     15 Bridle Lane                                                                                                          $316,250.00
     Blue Bell, PA 19422

5
     Harris, St. Laurent & Chadhry LLP                              Professional
     40 Wall Street, 53rd Floor                                       Services                                               $59,677.12
     New York, NY 100005

6
     AmTrust North America                                          Trade Debt                                               $3,564.00
     800 Superior Avenue E.
     Cleveland, OH 44114

7
     Windstream                                                     Trade Debt                                               $1,096.55
     Attn: Customer Care
     P.O. Box 3177
     Cedar Rapids, IA 52406-3177
8
     RELX Inc. DBA LexisNexis                                       Trade Debt                                               $362.84
     PO Box 9584
     New York, NY 10087-4584
                 Case 18-10494-jkf             Doc 1      Filed 01/26/18 Entered 01/26/18 16:34:18                      Desc Main
                                                          Document      Page 15 of 19

    9
        Comcast                                                                 Trade Debt
        PO Box 3001                                                                                                            $286.25
        Southeastern, PA 19389-3001

10
        Verizon                                                                 Trade Debt                                     $167.40
        500 Technology Drive, Suite 550
        Weldon Spring, MO 63304


11
        Infinite Conferencing                                                   Trade Debt                                     $51.68
        PO Box 836
        Short Hills, NJ 07078


12
        Nationwide Mutual Insurance Co.                                         Insurance
        One Nationwide Plaza
        Columbus, OH 43215

13
        John Hancock Funds LLC                                                  Insurance
        601 Congress Street
        Boston, MA 02210
14
        Smart IP
        66 Nuggett Court
        Brampton, ON L6T 5A9

15
        University City Housing
        3418 Sansom Street
        Philadelphia, PA 19104

16



17



18




19




20




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims           page 2



i
    Debtor is continuing to review its records regarding the validity and amounts owed to each of these creditors.
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 16 of 19


                        AmTrust North America
                        800 Superior Avenue E
                        Cleveland, OH 44114

                        Attorney General of the United States
                        Ben Franklin Station
                        PO Box 227
                        Washington, DC 20044

                        Bank of America, N.A.
                        Legal Order Processing
                        800 Samoset Drive
                        Mail Code: DE5-024-02-08
                        Newark, DE 19713

                        Bank of America, N.A.
                        One Bryant Park
                        115 West 42nd Street
                        New York, NY 10036

                        Bank of America, N.A.
                        600 North Cleveland Ave
                        Suite 100
                        Westerville, OH 43082

                        Bank of America, N.A.
                        One Financial Plaza
                        Providence, RI 02903

                        Comcast
                        PO Box 3001
                        Southeastern, PA 19389-3001

                        Dash and Love
                        111 Presidential Boulevard
                        Suite 211
                        Bala Cynwyn, PA 19004-1013

                        Department of Labor and Industry
                        Office of Chief Counsel
                        444 North Third Street, Suite 200
                        Philadelphia, PA 19123

                        George Croner
                        35 Steeplechase Drive
                        Holland, PA 18966
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 17 of 19



                        Harris, St. Laurent and Chadhry LLP
                        40 Wall Street, 53rd Floor
                        New York, NY 10005

                        Infinite Conferencing
                        PO Box 836
                        Short Hills, NJ 07078

                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346

                        Jeffrey Dutson
                        King and Spalding LLP
                        1180 Peachtree Street NE
                        Atlanta, GA 30309

                        John Hancock Funds LLC
                        601 Congress Street
                        Boston, MA 02210

                        Michael Zion
                        15 Bridle Lane
                        Blue Bell, PA 19422

                        Michel’s Bakery
                        5698 Rising Sun Avenue
                        Philadelphia, PA 19120

                        MidAtlantic Business
                        550 E. Swedesford Road, Suite 140
                        Wayne, PA 19087

                        Nationwide Mutual Insurance
                        Company
                        One Nationwide Plaza
                        Columbus, OH 43215

                        Office of the US Trustee
                        833 Chestnut Street
                        Suite 500
                        Philadelphia, PA 19107

                        Pennsylvania Department of
                        Revenue
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 18 of 19


                        Department 280946
                        Attn: Bankruptcy Division
                        Harrisburg, PA 17128-0946

                        Phil Seefried
                        9151 East Harvard Avenue
                        Denver, CO 80231

                        RELX Inc. dba LexisNexis
                        PO Box 9584
                        New York, NY 10087-4584

                        Sarah Robinson Borders
                        King and Spalding LLP
                        1180 Peachtree Street NE
                        Atlanta, GA 30309

                        Smart IP
                        66 Nuggett Court
                        Brampton, ON L6T 5A9

                        The Guardian Life Insurance Co
                        7 Hanover Square
                        Customer Service, H6D
                        New York, NY 10004

                        University City Housing
                        3418 Sansom Street
                        Philadelphia, PA 19104

                        Verizon
                        500 Technology Drive, Suite 550
                        Weldon Spring, MO 63304

                        Windstream
                        Attn Customer Service
                        PO Box 3177
                        Cedar Rapids, IA 52406-3177

                        WIPFLI
                        2 W Baltimore Avenue, Suite 210
                        Media, PA 19063

                        WSFS Bank
                        500 Delaware Avenue
                        Wilmington, DE 19801
Case 18-10494-jkf   Doc 1   Filed 01/26/18 Entered 01/26/18 16:34:18   Desc Main
                            Document      Page 19 of 19



                        Zachary D. Rosenbaum
                        Lowenstein Sandler LLP
                        1251 Avenue of the Americas
                        New York, NY 10020
